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BY ECF                                                                             April 1, 2019
Hon. Edgardo Ramos
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

                Re:     Fractus, S.A. v. AT&T Mobility LLC, Misc. Action No. 1:19-00130

Dear Judge Ramos:

        We represent Fractus, S.A. (“Fractus”) in the above captioned matter and write to request
that this Court (1) permanently seal Exhibit 5 to the Declaration of Hugham Chan, dated March
25, 2019 (ECF No. 10-5) (the “Withdrawal Agreement”) and (2) enter an order granting Fractus
leave to re-file the aforementioned document under seal.

        Non-Party SBA Communications Corporation (“SBA”) appears to object to the inclusion
of an unsealed copy of the Withdrawal Agreement in this case,1 and so Fractus, in good faith, on
April 1, 2019, contacted this Court’s ECF Help Desk to request that the filed document be
temporarily sealed. Now Fractus requests that the Court grant it leave to re-file the document
under this Court’s sealing requirements. Should the Court grant this request, Fractus will file a
copy of the document with the Court pursuant to Section 6 of the Electronic Case Filing Rules &
Instructions for the Southern District of New York, and the Southern District of New York’s Sealed
Records Filing Instructions.
                                                             Respectfully submitted,

                                                                  /s/ Kimberly Perrotta Cole
                                                                   Kimberly Perrotta Cole
                                                                   +1 202 664 1900
Cc: All Counsel of Record via ECF

1
  See SBA Communications Corporation’s Reply in Support of Motion to Quash Fractus’ Subpoena and Opposition
to Fractus’ Cross Motion to Compel Compliance with Rule 45 Subpoena (ECF No. 20) at 9, 21-22.
